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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION

IN RE:                                           §
                                                 §
JERRY P. WHITLEY,                                §           CASE NO. 4:13-bk-15983
                                                 §                Chapter 7
        Debtor.                                  §
                                                 §

  DEBTOR’S OBJECTION AND RESPONSE TO FIRST SERVICE BANK’S MOTION
                    TO DISMISS WITH PREJUDICE



TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        COMES NOW JERRY P. WHITLEY, Debtor in the above-referenced bankruptcy case

(“Debtor”) and files this his Debtor’s Objection and Response to First Service Bank’s Motion to

Dismiss with Prejudice (the “Objection”) in response to First Service Bank’s Motion to Dismiss

with Prejudice the “Motion”) filed by First Service Bank (“Movant”) and would show the Court

as follows:

        1.       The Motion seeks to dismiss Debtor’s bankruptcy case for three stated reasons, as

follows:

                 (1) That the current Chapter 11 petition was allegedly filed primarily to delay
                     Movant’s collection efforts;
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                (2) That the Debtor allegedly has no likelihood of reorganizing under chapter 11;
                    and

                (3) That the Debtor is not actively prosecuting the Second Arkansas Bankruptcy.

Each of these allegations will be analyzed in turn below.

        2.      To be clear, Debtor does not oppose dismissal of this case. However, Debtor

strongly opposed dismissal with prejudice. Movant has not demonstrated any basis for a dismissal

with prejudice, and indeed there is no such basis.

A. Allegation that Case Was Filed for Purposes of Delay and therefore in Bad Faith

        3.      As its first asserted “cause” to dismiss the case with prejudice, Movant asserts that

the current Chapter 11 petition was filed primarily to delay and frustrate Movant from pursuing

collections efforts – thereby constituting bad faith.

        4.      In making such allegation, Movant acknowledges the fact that its debt has already

been determined to be nondischargeable. As such, it is unclear how Debtor’s subsequent filing

affects its collection efforts at all. Debtor’s filing was made, at least in part, to address the debt of

Movant and provide for some satisfaction of Movant’s debt, along with Debtor’s other

accumulated debt.

        5.      Although the Motion mentions it in passing, the Motion glosses over the fact that

Debtor’s previous bankruptcy case is still in existence. Therefore, it is also unclear how Debtor’s

subsequent filing worked any additional limitation on Movant’s collection efforts that did not

already exist by virtue of the continued existence of Debtor’s First Bankruptcy Case.

        6.      In making its allegation, Movant has provided no substance to its allegation of bad

faith. Although, as noted above, it’s not clear that the filing of the Second Bankruptcy Case caused

Movant any delay, if causing delay on collecting a debt was the standard for bad faith, then no

bankruptcy case could ever be filed in good faith.
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       7.      To the contrary, Debtor sought to structure his debts under Chapter 11 – a chapter

of bankruptcy which acknowledges debts and attempts to pay them back in a systematic fashion.

Debtor is currently subject to multiple attempts by creditors to garnish funds – which is the kind

of a “race to the courthouse” that a bankruptcy filing is designed to prevent.

       8.      The Motion focuses almost exclusively on conduct incurred in Debtor’s First

Bankruptcy Case. Debtor has already been punished for such conduct in the form of a finding of

non-dischargeability. Such a finding is not somehow res judicata on the issue of good faith with

respect to a subsequent filing.

       9.      The Motion further appears to assert that Debtor somehow rushed to “immediately”

file the Second Bankruptcy Case “seven months later.” Seven months is not exactly immediate,

and the asserted timeframe is misleading, as it is the timeframe from the execution of the settlement

agreement and the filing of the Second Bankruptcy Case. In fact, the Second Bankruptcy Case

was filed some four years after the First Bankruptcy Case. Once again, the Second Bankruptcy

Case was filed in order to address the debt existing from the results of the First Bankruptcy Case.

And once again, the First Bankruptcy Case was still pending, and therefore the Second Bankruptcy

Case imposed no further restrictions on Movant than the continued existence of the First

Bankruptcy Case did.

       10.     Debtor did not file the current chapter 11 bankruptcy case in bad faith, and therefore

this allegation cannot be a basis of a dismissal with prejudice.

B. Likelihood of Reorganization

       11.     As a second asserted basis for “cause” to dismiss the case with prejudice, Movant

asserts that Debtor has no likelihood of reorganizing under chapter 11.

       12.     Once again, Movant provides no substance to its allegation, but instead makes a
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mere conclusory allegation.

         13.   Contrary to Movant’s assertions, like many individual debtors, Debtor herein seeks

to reorganize and repay his debts by way of future income. Bankruptcy provides an appropriate

avenue by which to do that by way of a chapter 11 plan that provides for an orderly payment to

creditors – rather than simply allowing creditors to separately seek satisfaction by way of

garnishment and other such collection tools.

         14.   Debtor has a reasonable possibility for reorganization and therefore should be

allowed to pursue such reorganization.

         15.   As Debtor has acknowledged, however, in prior filings, it is not feasible for Debtor

to prosecute his case in Arkansas now that he resides in Dallas, Texas. Therefore, Debtor once

again does not oppose dismissal, but only opposes dismissal with prejudice.

C. Failure to Actively Pursue Second Arkansas Bankruptcy

         16.   Debtor has acknowledged on multiple occasions that he does not have the resources

to prosecute his bankruptcy case in Arkansas now that he lives in Dallas, Texas.

         17.   Debtor’s case has proved to be actively litigated – which would likely require

Debtor to appear on a regular basis in Arkansas. He simply cannot afford to do so.

         18.   It is for this reason that Debtor does not oppose dismissal of this case.

         19.   However, once again, no viable basis for dismissal with prejudice has been put

forth.

         20.   Movant references Debtor’s failure to prosecute his Second Bankruptcy Case in the

context of its assertion of bad faith, but such conduct is only evidence of Debtor’s inability to

afford to pursue his case in Arkansas rather than bad faith in filing.

         21.   Debtor’s “sitting back” (as alleged in the Motion) is rather the simple waiting for
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the case to be dismissed (which he does not oppose) since he cannot pursue it.

       WHEREFORE, Debtor respectfully requests the Court deny the requested relief to the

extent that it seeks a dismissal of his Chapter 11 case with prejudice.

DATED this 11th day of January, 2018.

                                                      Respectfully submitted,

                                                      /s/ Gregory W. Mitchell
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                                 CERTIFICATE OF SERVICE

      I hereby certify that on January 11, 2018, a true and correct copy of the foregoing
document was served via the Court’s ECF system upon the required parties on the attached service
list.

                                                      /s/ Gregory W. Mitchell
                                                      Gregory W. Mitchell
